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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND


CLARENCE HICKS                                *
          Petitioner                          *
                                              *
               v.                             *    CIVIL NO. L-02-2076
                                              *    CR. NO. L-98-0259
UNITED STATES OF AMERICA                      *
          Respondent                          *
                                           *******
                                        MEMORANDUM


       Now pending is pro se Petitioner Clarence Hicks’s motion to reopen his case pursuant to

Rule 60(b). 1 Docket No. 716. Hicks requests the Court to vacate its judgment denying his

motion for relief pursuant to 28 U.S.C. § 2255. For the reasons set forth below, the Court will,

by separate Order of even date, DENY the motion. The case remains CLOSED.

I.     Background

       The facts are fully set forth in the parties’ briefs. The essential facts are as follows. From

1989 to 1999, Hicks participated in a violent drug conspiracy that operated in the O’Donnell

Heights neighborhood of Southeast Baltimore. On August 18, 1999, Hicks was charged in

Count 3 of the Second Superseding Indictment with conspiracy to distribute heroin, cocaine, and

cocaine base, in violation of 21 U.S.C. § 846. Hicks was convicted on November 23, 1999 and

sentenced to thirty years imprisonment on March 23, 2000.

       On June 19, 2002, Hicks filed a motion for relief pursuant to 28 U.S.C. § 2255. Docket

No. 483. In his motion, Hicks raised two claims of ineffective assistance of counsel. The Court

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 Hicks has also filed a motion for summary judgment. Docket No. 731. He argues that the
Government failed to timely respond to his motion. The record establishes, however, that the
Government, after requesting and receiving a continuance, responded within the prescribed
deadlines. Further, the Government certified that it mailed a copy of its response to Hicks.
Accordingly, Hicks is not entitled to summary judgment, and his motion will be denied.
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rejected these claims and, on March 11, 2005, denied Hicks’s motion. Docket No. 550. On May

4, 2005, Hicks filed a motion for relief from the judgment (Docket No. 551), and on August 18,

2005, he filed a motion to reopen his case (Docket No. 552). The Court denied each of these

motions on June 5, 2008. Docket No. 630.

         Hicks filed the instant motion on December 10, 2009. The motion became ripe on March

29, 2010.

II.      Analysis

         Hicks’s motion must be denied because it is time-barred. Federal Rule of Civil

Procedure 60(b) sets out six grounds on which a court may relieve a party from a final

judgment. 2 Hicks seeks reopening based on “fraud, mistake, and newly discovered evidence.”

Mot. 1. A motion seeking to reopen on these grounds must be brought “no more than a year

after the entry of the judgment or order or the date of the proceeding.” Fed. R. Civ. P. 60(c)(1).

Hicks filed the instant motion more than three years after the Court denied his § 2255 motion and

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    The six grounds are as follows:

         (1) mistake, inadvertence, surprise, or excusable neglect;

         (2) newly discovered evidence that, with reasonable diligence, could not have
         been discovered in time to move for a new trial under Rule 59(b);

         (3) fraud (whether previously called intrinsic or extrinsic), misrepresentation, or
         misconduct by an opposing party;

         (4) the judgment is void;

         (5) the judgment has been satisfied, released, or discharged; it is based on an
         earlier judgment that has been reversed or vacated; or applying it prospectively is
         no longer equitable; or

         (6) any other reason that justifies relief.

Fed. R. Civ. P. 60(b).
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almost eighteen months after the Court denied his previous motion to reopen. Accordingly, the

motion will be denied.

       Even assuming that the motion was timely, Hicks has not set out a factual or legal basis

for the relief he seeks. Hicks argues that he is entitled to relief because the Court previously

failed to consider certain arguments raised in his § 2255 motion. Evidence a court has

previously considered is, by definition, not newly discovered. See Smith v. Reddy, 101 F.3d

351, 357 (4th Cir. 1996) (denying Rule 60(b) motion where “[m]uch of the so-called new

evidence cited in Smith's brief appears in the original summary judgment record”).

       Hicks’s argument that the judgment was procured by fraud is also without merit. Hicks

contends that because he withdrew from the conspiracy in 1993, the Government indicted him in

violation of the statute of limitations. The Court previously considered and rejected a similar

claim. See Docket No. 629, Mem. 4 (holding that Hicks could not establish that his counsel was

ineffective for failing to argue the statute of limitations issue on appeal because Hicks “fails to

confront the overwhelming evidence of his role in the conspiracy between 1996 and 1998”).

Under these circumstances, Hicks cannot establish that the judgment was procured by fraud upon

him or the Court.

III.   Conclusion

       For the reasons set forth herein, the Court will, by separate Order of even date, DENY the

motion. The case remains CLOSED.



Dated this 2nd day of April, 2010.                                    /s/
                                                              Benson Everett Legg
                                                              United States District Judge
